                    Case 1:24-cr-00135-TSC                     Document 1             Filed 03/07/24             Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Columbia
                  United St.at.es of America                               )
                                V.                                         )
                                                                           )       Case No.
                       John Banuelos
                                                                           )
                      DOB:XXXXXX                                           )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                   in the county of __________ in the
                          in the Distiict of         Columbia         , the defendant(s) violated:
             Code Section                                                             Offense Description

        18 U.S.C. § 23l(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § l 752(a)(l) and (b)(l)(A) -Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon ,
        40 U.S.C. § 5104(e)(l)(A)(i)- Individual or group of individuals to Willfully and Knowingly carry on or have Readily Accessible to any
        Individual on the Grounds or in any Capitol Buildings, a Firearm.,
        40 U.S.C. § 5104(e)(l)(A)(ii)- Individual or Group of Individuals to Discharge a Firearm or Explosives, use a Dangerous Weapon, or
        Ignite an Incendiary Device, on the Grounds or in any of the Capitol Buildings.,
        40 U.S.C.§ 5104(e)(2) (D)- Disorderly Conduct in a Capitol Building .


          This c1iminal complaint is based on these facts:
  See attached statement of facts.




          N Continued on the attached sheet.


                                                                                                         Complainant's signature

                                                                                                                             , Special Agent

Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.
                                                                                                                        2024.03.07
Date:
                                                                                                                        12:40:49 -05'00'
                  03/07/2024
                                                                                                            Judge's signature

City and state:                         Washington, D.C.                              Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                          Printed name and title
